                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


        LONNIE BILLARD,

                 Plaintiff,

                 v.                                           Civil Action No. 3:17-cv-0011

         CHARLOTTE CATHOLIC HIGH SCHOOL,
         MECKLENBURG AREA CATHOLIC
         SCHOOLS, and ROMAN CATHOLIC
         DIOCESE OF CHARLOTTE

                 Defendants.



                       PLAINTIFF’S SUPPLEMENTAL AUTHORITY

       Pursuant to Local Civil Rule 7.1(j) and this Court’s order dated June 16, 2018 (ECF No.

44), Plaintiff Lonnie Billard submits Jones v. Va. Polytechnic Inst. & State Univ., Civil Action

No. 7:17-cv-531, 2018 U.S. Dist. LEXIS 163753 (W.D. Va. Sep. 24, 2018) (attached as Ex. A),

as supplemental authority in support of Plaintiff’s Motion for Partial Summary Judgment (ECF

No. 26) and in opposition to Defendants’ Motion for Summary Judgment (ECF No. 29).

       Plaintiff Lonnie Billard taught drama at Charlotte Catholic High School for more than a

decade and continued to work as a substitute teacher after retirement. But after he decided to

marry his long-time partner, Defendants fired him “because he is a man who intended to, and

did, marry another man,” Compl. ¶ 32; Answer ¶ 32. In doing so, Defendants violated Title VII

of the Civil Rights Act of 1964, which prohibits covered employers from “fail[ing] or refus[ing]

to hire or to discharge any individual . . . because of such individual’s . . . sex.” 42 U.S.C. §

2000e-2(a)(1). See Zarda v. Altitude Express, Inc., 883 F.3d 100 (2d Cir. 2018) (en banc), pet.



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for certiorari filed, May 29, 2018; Hively v. Ivy Tech Cmty. Coll. of Ind., 853 F.3d 339, 340 (7th

Cir. 2017) (en banc).

       The memorandum opinion in Jones questions whether Wrightson v. Pizza Hut of Am.,

Inc., 99 F.3d 138, 143 (4th Cir. 1996) and Hopkins v. Balt. Gas & Elec. Co., 77 F.3d 745, 751-52

(4th Cir. 1996) are controlling precedent in the Fourth Circuit as to whether Title VII covers

discrimination based on sexual orientation given developments in the law since they were

decided. The opinion first notes that those holdings were dictum that courts have cited as

substantive law. Jones, 2018 U.S. Dist. LEXIS 163753, at *8-9. It then notes that other circuit

courts have ruled against such Title VII claims in the past, but quotes from Zarda, supra, that

“legal doctrine evolves.” Id., at *9-10. The opinion then reviews subsequent Supreme Court,

circuit court and EEOC decisions that contradict Wrightson and Hopkins. Id., at 10-11

       The magistrate opinion deferred ruling on whether it was bound by the Wrightson dicta,

as it found insufficient factual allegations to support the claim. Id. 2018 U.S. Dist. LEXIS

163753, at *12-13. But the decision sets out succinctly the developments in the law on the Title

VII issue before this Court since Wrightson and Hopkins.

                                         CONCLUSION

       Plaintiff’s motion for partial summary judgment should be granted, and Defendants’

motion for summary judgment should be denied.




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Dated: November 12, 2018          Respectfully submitted,

                                  /s/ S. Luke Largess
                                  S. Luke Largess (NC Bar # 17486)
                                  Tin Fulton Walker & Owen PLLC
                                  301 East Park Avenue
                                  Charlotte, NC 28202
                                  Telephone: (704) 338-1220
                                  Facsimile: (704) 338-1312

                                  Christopher Brook (NC Bar #33838)
                                  American Civil Liberties Union
                                  of North Carolina Legal Foundation
                                  PO Box 28004
                                  Raleigh, NC 27611
                                  Telephone: (919) 834-3466
                                  Facsimile: (866) 511-1344

                                  Joshua A. Block (pro hac vice)
                                  Brian Hauss (pro hac vice)
                                  American Civil Liberties Union
                                  Foundation
                                  125 Broad Street, 18th Floor
                                  New York, NY 10004
                                  Telephone: (212) 549-2604
                                  Facsimile: (212) 549-2652

                                  Elizabeth O. Gill (pro hac vice)
                                  American Civil Liberties Union
                                  Foundation
                                  39 Drumm Street
                                  San Francisco, CA 94111
                                  Telephone: (415) 621-2493
                                  Facsimile: (415) 255-8437

                                  Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed a copy of forgoing document with

the Clerk of Court using the CM/ECF system. All participants in the case are registered CM/ECF

users and are hereby served through the CM/ECF system.

Dated: November 12, 2018
                                             /s/ S. Luke Largess
                                             S. Luke Largess




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